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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


TIKEILA RUCKER, RACHAEL SPRIGGS,         )
DAMON CURRY-MORRIS, AMBER                )
SHERMAN AND LAJUANA ABRAHAM,             )
                                         )
        Plaintiffs,                      )
                                         )
v.                                       )                Case No. 2:23-cv-02358-SHL-cgc
                                         )
SHELBY COUNTY BOARD OF                   )
EDUCATION, CAROLYN JACKSON, in her )
official capacity as Chief of Safety and )
Security for the SHELBY COUNTY BOARD )
OF EDUCATION,                            )
                                         )
        Defendants.                      )


                                        JUDGMENT


JUDGMENT BY COURT. This action having come before the Court on Plaintiffs Tikeila
Rucker, Rachael Spriggs, Damon Curry-Morris, Amber Sherman and Lajuana Abraham’s
Verified Complaint (ECF No. 1), filed June 13, 2023,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with
the Stipulation of Dismissal With Prejudice 41(a)(1)(A)(ii), filed November 21, 2024 (ECF No.
73), the case is DISMISSED WITH PREJUDICE.

APPROVED:

s/ Sheryl H. Lipman
SHERYL H. LIPMAN
CHIEF UNITED STATES DISTRICT JUDGE

November 22, 2024
Date
